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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 24-cv-20805-KMM

      YA MON EXPEDITIONS, LLC, BLUEBERRY
      ENTERPRISES, LLC, MAGNA CHARTA,
      LLC, PRIDE CONTRACTING, INC., KIP
      LAMAR SNELL, and JUAN GALAN,
      Individually and on Behalf of All Others
      Similarly Situated,

                              Plaintiffs,

              v.

      ALLIED MARINE, INC., GALATI YACHT
      SALES, LLC, HMY YACHT SALES, INC.,
      MARINEMAX, INC., NORTHROP &
      JOHNSON YACHTS-SHIPS, LLC, FRASER
      YACHTS FLORIDA, INC., FRASER YACHTS
      CALIFORNIA CORPORATION,
      MARINEMAX EAST, INC., ONEWATER
      MARINE INC., DENISON YACHTS
      INTERNATIONAL, LLC, YACHTING
      ASSETS AND OPERATIONS LLC, UNITED
      YACHT SALES, LLC, INTERNATIONAL
      YACHT BROKERS ASSOCIATION, INC.,
      YACHT BROKERS ASSOCIATION OF
      AMERICA, INC., CALIFORNIA YACHT
      BROKERS ASSOCIATION, INC.,
      NORTHWEST YACHT BROKERS
      ASSOCIATION, BOATS GROUP, LLC,
      PERMIRA ADVISERS LIMITED, PERMIRA
      ADVISERS LLC, and YATCO, LLC

                              Defendants.



      UNOPPOSED MOTION TO EXCEED PAGE LIMITS ON MOTION TO DISMISS
                              BRIEFING

          The Defendants in the above-captioned action, pursuant to Local Rule 7.1(c)(2), hereby

   file their Unopposed Motion to Exceed Page Limits on Motion to Dismiss Briefing, and in support

   thereof, state the following:
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          1.      Pursuant to this Court’s Scheduling Order and Referral for Mediation (“Scheduling

   Order”), see [ECF No. 139], “Defendants shall file their responses and motions jointly.” See [ECF

   No. 139] at 2. Similarly, the Court’s March 4, 2024 docket order requires joint briefings “unless

   there are clear conflicts of position.” See [ECF No. 4].

          2.      There are a significant number of Defendants named in the lawsuit with different

   interests and positions. Similarly, the allegations of the Consolidated Complaint are different as

   to different Defendants. As such, the Defendants’ anticipated Joint Motion to Dismiss will contain

   a number of distinct arguments, necessitating pages in excess of the standard twenty (20) pages

   provided by Local Rule 7.1(c)(2).

          3.      This Court has previously entertained similar motions to exceed page limits, and

   has allowed the parties to exceed the standard twenty (20) pages.             See, e.g., In re FTX

   Cryptocurrency Exchange Collapse Litigation, 1:23-MD-3076-KMM, [ECF Nos. 215, 216]

   (August 25, 2023) (granting 40 pages to the motion to dismiss, 40 pages to the response brief, and

   15 pages to the reply brief).

          4.      The fact that the instant litigation involves at least seventeen (17) active Defendants

   at the current time, each of which has potentially unique arguments, justifies a modest increase in

   page limits allowed.      Furthermore, due to the unique nature of antitrust allegations and

   accompanying causes of action, there are a number of pleading issues that the Defendants believe

   are uniquely necessary to be addressed at the Rule 12(b)(6) stage that require additional pages of

   briefing. As such, the Defendants respectfully request that the Court enter an order allowing the

   Defendants a collective forty-five (45) pages for their joint 12(b)(6) motion to dismiss, the

   Plaintiffs a collective forty-five (45) pages for their response to the joint 12(b)(6) motion to

   dismiss, and twenty (20) pages for any reply briefing. Defendants have conveyed to Plaintiffs that

   they will not oppose any Plaintiffs’ request for up to forty-five (45) pages for any response.
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             5.     This Motion is made in good faith and not for the purposes of delay or harassment.

   No Parties would be prejudiced by the requested relief, as it would allow the Defendants to

   coordinate and consolidate their responses to the Consolidated Complaint as much as is

   practicable, and promote the overall streamlining of this case.

             6.     All Parties that have appeared in this action are in agreement with the requested

   relief.

             WHEREFORE, the Defendants respectfully request that this Court enter an Order

   granting Defendants forty-five (45) pages for their Joint 12(b)(6) motion to dismiss, and granting

   Defendants twenty (20) pages for any reply brief, and for any additional relief this Court deems

   appropriate. 1

                                   CERTIFICATE OF CONFERRAL

             Pursuant to the Local Rules, Plaintiffs agree to the relief requested here where both the

              Motion and Response are allowed up to 45 pages and the Reply is allowed up to 20 pages.



   Dated: July 30, 2024

       Respectfully submitted,

       /s/ Christina M. Paul

       Christina McGinley Paul
       K&L Gates LLP
       Southeast Financial Center
       200 South Biscayne Boulevard, Suite 3900
       Miami, FL 33131-2399
       305-539-3316
       Fax: 305-358-7095
       Email: christina.paul@klgates.com




   1
    A proposed order granting this Motion has been attached as Exhibit A, and will be emailed to the
   Court pursuant to Chambers’ guidelines.
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   Michael E. Martinez - PHV
   Brian J. Smith – PHV
   K&L Gates LLP
   70 W. Madison St., Suite 3300
   Chicago, IL 60602
   Tel: (312) 372-1121
   Email: michael.martinez@klgates.com
   Email: brian.j.smith@klgates.com
   Counsel for MarineMax, Inc., MarineMax
   East, Inc., Galati Yacht Sales, LLC, Northrop
   & Johnson Yacht Ships, LLC, Fraser Yachts
   California Corporation, and Fraser Yachts
   Florida, Inc.

   Sean A. Burstyn
   Burstyn Law PLLC
   1101 Brickell Avenue
   Ste S-700
   Miami, FL 33131
   305-204-9808
   Email: sean.burstyn@burstynlaw.com

   Lawrence Buterman
   Latham & Watkins LLP
   1271 Avenue of the Americas
   New York, NY 10020
   Tel: 212-906-1264
   Email: Lawrence.buyerman@lw.com

   Emily M. Heim
   Bayramoglu Law Offices LLC
   1540 West Warm Springs Road, Suite 100
   Henderson, NV 89014
   Tel: 702-462-5973
   Fax: 702-553-3404
   Email: emily@bayramoglu-legal.com

   Christopher M. Brainard – PHV
   C.M. Brainard & Assoc.
   8549 Wilshire Blvd., Pmb 2095
   Beverly Hills, CA 90211
   (310) 266-4115
   Email: christopherbrainard@gmail.com
   Counsel for Denison Yachts International,
   LLC
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   W. Scott Turnbull (FBN 0038626)
   Crary Buchanan, P.A.
   759 SW Federal Hwy, Suite 106
   Stuart, FL 34994
   Tel: 772-287-2600
   Fax: 772-398-8122
   Email: turnbull@crarybuchanan.com
   Email: kali@crarybuchanan.com
   Counsel for United Yacht Sales, LLC

   A. Thomas Connick
   A. Thomas Connick, P.A.
   411 E Hillsboro Blvd
   PO Box 1186
   Deerfield Beach, FL 33441
   954-428-0300
   Email: tomconnick@gmail.com

   Kenneth M. Kliebard - PHV
   Morgan, Lewis & Bockius LLP
   110 North Wacker Drive
   Chicago, IL 60606
   312-324-1774
   Email: kenneth.kliebard@morganlewis.com

   Stacey Anne Mahoney - PHV
   Morgan, Lewis & Bockius, LLP
   101 Park Avenue
   New York, NY 10178
   212.309.6930
   Email: stacey.mahoney@morganlewis.com

   William T. McEnroe - PHV
   Morgan, Lewis & Bockius, LLP
   2222 Market Street
   Philadelphia, PA 19103
   215.963.5265
   Email: william.mcenroe@morganlewis.com
   Counsel for HMY Yacht Sales, Inc.
   Jeffrey T. Foreman
   William Jay Blechman
   Joshua B. Gray – PHV
   Kenny Nachwalter, P.A.
   Four Seasons Tower – Suite 1100
   1441 Brickell Avenue
   Miami, FL 33131
   Tel: (305) 373-1000
   Fax: (305) 372-1861
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   Email: jtf@knpa.com
   Email: wblechman@knpa.com
   Email: jgray@knpa.com
   Counsel for International Yacht Brokers
   Assoc, Inc.

   Jennifer Patterson - PHV
   Haug Partners LLP
   745 Fifth Avenue, 10th Floor
   New York, NY 10151
   (212) 588-0800
   Email: jpatterson@haugpartners.com

   Michael F. Brockmeyer - PHV
   Haug Partners LLP
   1717 K Street NW, Suite 900
   Washington, DC 20006
   202-292-1530
   Email: mbrockmeyer@haugpartners.com
   Counsel for Allied Marine, Inc.

   David B. Esau
   Amanda R. Jesteadt
   Carlton Fields, P.A.
   CityPlace Tower Suite 1200
   525 Okeechobee Boulevard
   West Palm Beach, FL 33401
   Tel: 561-659-7070
   Fax: 561-659-7368
   Email: desau@carltonfields.com
   Email: ajesteadt@carltonfields.com

   Scott Abeles - PHV
   Carlton Fields, P.A.
   1025 Thomas Jefferson St., NW
   Suite 400 West
   Washington, DC 20007
   Tel: (202) 965-8189
   Email: sabeles@carltonfields.com
   Counsel for Yacht Broker’s Association of
   America, Inc.

   Jeffrey A. LeVee
   Eddie Hasdoo
   Jones Day
   555 S. Flower Street, 50th Fl.
   Los Angeles, CA 90071
   Tel: (213) 489-3939
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    Email: jlevee@jonesday.com
    Email: ehasdoo@jonesday.com
    Counsel for OneWater Marine Inc.

    Roy Fitzgerald
    Gregory Weiss
    Jennifer Perrone
    Mrachek, Fitzgerald, Rose, et al P.A.
    505 South Flagler Drive, Suite 600
    West Palm Beach, FL 33401
    Telephone: (561) 655-2250
    rfitzgerald@mrachek-law.com
    gweiss@mrachek-law.com
    jperrone@mrachek-law.com
    Counsel for Yatco, LLC


                                    CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing was served by CM/ECF

   on 30th day of July, 2024, on all counsel or parties of record.

                                                 /s/ Christina M. Paul

                                                 Christina McGinley Paul
